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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA


 JOE HAND PROMOTIONS, INC.,

                        Plaintiff,

                - against -                      CASE NO.: 2:21-cv-1295

 THOMAS LOUNGE INCORPORATED
 d/b/a THOMAS’ LOUNGE, DARREN L.
 MORRIS, THEODORE R. MORRIS,

                        Defendants.


                                         COMPLAINT

       Plaintiff JOE HAND PROMOTIONS, INC., by and through its attorneys, for its Complaint

against Defendants, hereby alleges as follows:

                                         THE PARTIES

       1.      Plaintiff JOE HAND PROMOTIONS, INC. is a corporation organized and

existing under the laws of Pennsylvania with its principal place of business at 213 W. Street Road,

Feasterville, PA 19053. Plaintiff held the exclusive commercial licensing rights to the broadcast

of Errol Spence Jr. vs. Shawn Porter, including all undercard bouts and commentary, telecast

nationwide on September 28, 2019 (the “Program”).

       2.      Upon information and belief, Defendant THOMAS LOUNGE INCORPORATED:

               a.      is a Pennsylvania corporation;

               b.      is a business that conducts business in the Commonwealth of Pennsylvania;

               c.      conducted business as “Thomas’ Lounge” on the date of the Program;

               d.      operates, maintains and controls the establishment known as Thomas’
                       Lounge located at 522 Rosedale Street, Pittsburgh, PA 15221 (the
                       “Establishment”); and
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               e.      operated, maintained and controlled the Establishment on the date of the
                       Program.

       3.      Upon information and belief, Defendant DARREN L. MORRIS is an individual

residing in the Commonwealth of Pennsylvania. On the date of the Program, Defendant DARREN

L. MORRIS:

               a.      was an officer, director, shareholder, member and/or principal of the entity
                       owning and operating the Establishment;

               b.      had a right and ability to supervise the activities of the Establishment; and

               c.      had an obvious and direct financial interest in the activities of the
                       Establishment.

       4.      Upon information and belief, Defendant THEODORE R. MORRIS is an individual

residing in the Commonwealth of Pennsylvania.            On the date of the Program, Defendant

THEODORE R. MORRIS:

               a.      was an officer, director, shareholder, member and/or principal of the entity
                       owning and operating the Establishment;

               b.      had a right and ability to supervise the activities of the Establishment; and

               c.      had an obvious and direct financial interest in the activities of the
                       Establishment.

                                  JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question)

as this civil action is brought under the Communications Act of 1934, as amended, 47 U.S.C. §

553 (generally referred to as “Cable Piracy”) and 47 U.S.C. § 605 (generally referred to as

“Satellite Piracy”).

       6.      Venue is proper in this District because a substantial part of the events giving rise

to the claims occurred in this District and/or Defendants reside in this District.



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                                               FACTS

        7.      Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs of this Complaint with the same force

and effect as if the same were more fully set forth at length herein.

        8.      Plaintiff is a company that specializes in licensing and distributing premier sporting

events to commercial locations such as bars, restaurants, lounges, clubhouses and similar

establishments. Over the years, Plaintiff has invested a considerable amount of time and money

in building a loyal customer base and retaining customers.

        9.      By contract, Plaintiff was granted the exclusive right to license and distribute the

Program to commercial establishments throughout the United States. The Program broadcast

originated via satellite uplink, and was subsequently re-transmitted interstate to cable systems and

satellite television companies via satellite signal.

        10.     Plaintiff entered into subsequent agreements with various commercial

establishments in the Commonwealth of Pennsylvania that, in exchange for a fee, allowed them to

exhibit the Program to their patrons. In consideration of the aforementioned agreements, Plaintiff

expended substantial monies to market, advertise, promote, administer and transmit the Program

broadcast to those establishments in the Commonwealth of Pennsylvania.

        11.     Prior to the broadcast of the Program, Defendants could have contracted with

Plaintiff and purchased authorization to exhibit the Program in the Establishment for a fee.

However, Defendants chose not to contract with Plaintiff or pay a fee to Plaintiff to obtain the

proper license or authorization. At no time did Plaintiff give Defendants license, permission or

authority to receive and exhibit the Program in the Establishment.




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       12.     By unauthorized satellite transmission or, alternatively, by unauthorized receipt

over a cable system, Defendants willfully intercepted or received the interstate communication of

the Program or assisted in such actions. Defendants then unlawfully transmitted, divulged and

published said communication, or assisted in unlawfully transmitting, divulging and publishing

said communication to patrons in the Establishment.

       13.     Without authorization, license, or permission to do so from Plaintiff, Defendants

exhibited the Program to the patrons within the Establishment.

       14.     Defendants pirated Plaintiff’s licensed exhibition of the Program and infringed

upon Plaintiff’s exclusive rights while avoiding proper authorization and payment to Plaintiff.

Defendants’ actions were committed willfully and with the purpose and intent to secure a

commercial advantage and private financial gain.

       15.     At the time of the wrongful conduct described herein, Defendants’ agents, servants

and employees were in fact Defendants’ agents, servants and employees, and acting within the

scope of their employment and authority as Defendants’ agents, servants and employees.

                            SATELLITE PIRACY/CABLE PIRACY

       16.     Plaintiff repeats, re-alleges, and incorporates by reference, each and every

allegation and averment set forth in the above paragraphs of this Complaint with the same force

and effect as if the same were more fully set forth at length herein.

       17.     Defendants’ wrongful actions, in connection with the unauthorized exhibition of

the Program, as described above, violates 47 U.S.C. § 605. By reason of Defendants’ violation of

47 U.S.C. § 605, Plaintiff has standing and capacity to bring a private right of action.




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       18.     Plead in the alternative, Defendants’ wrongful actions, in connection with the

unauthorized exhibition of the Program, as described above, violates 47 U.S.C. § 553, and by

virtue of same, Plaintiff has standing and capacity to bring a private right of action.

       19.     Accordingly, Plaintiff is entitled to judgment in its favor and against each

Defendant for statutory damages, in the discretion of this Court, plus interest, costs and attorneys’

fees, pursuant to 47 U.S.C. § 605 or, alternatively, pursuant to 47 U.S.C. § 553.

                                              PRAYER

       WHEREFORE, Plaintiff prays for judgment in favor of Plaintiff and against each

Defendant as follows:

               a.       for statutory damages, in the discretion of this Court, of up to the maximum

       amount of $110,000.00 for each willful violation of 47 U.S.C. § 605, or alternatively, for

       statutory damages, in the discretion of this Court of up to the maximum amount of

       $60,000.00 for each willful violation of 47 U.S.C. § 553;

               b.       for Plaintiff’s attorney’s fees, interest, and costs of suit pursuant to 47

       U.S.C. § 605(e)(3)(B)(iii) or, alternatively, pursuant to § 553(c)(2)(C); and

               c.       for such other and further relief to which Plaintiff may be entitled.


                                                               Respectfully submitted,

Dated: September 28, 2021                               By:    /s/ Ryan R. Janis
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